      Case 2:09-cr-20026-PKH                   Document 188              Filed 02/24/12           Page 1 of 1 PageID #: 599
AO 247 (Rev. I l/l I ) OrderRegardingMotion for Sentence
                                                       ReductionPursuant
                                                                       to l8 U.S.C.$ :SSZ(oXZ)          PageI of 2 (Page2 Not for PublicDisclosure)


                                   UwIrEnSrnrEsDIsrruCTCoURT
                                                                   for the
                                                 Western         Districtof         Arkansas

                  UnitedStatesof America

                                                                          CaseNo:       2;09-CR-20026-006
                         fermelKnauls
                                                                          USM No:       09073-010
Date of Original Judgment:         Februarv22.2010
Date of PreviousAmendedJudgment:                                          Pro Se
(UseDateof LastAmended     if Any)
                     Judgment                                             Defendant's Attorney


                 ORDER REGARDING MOTION FOR SENTENCEREDUCTION
                          PURSUANTTO 18 U.S.C.$ 3582(c)(2)
       Uponmotionof E thedefendantn the Directorof the Bureauof Prisonsn thecouftunderl8 U.S.C.
          for a reductionin thetermof imprisonment
$ 3582(cX2)                                         imposedbasedon a guidelinesentencing rangethathas
           beenloweredandmaderetroactive
subsequently                                by theUnitedStatesSentencing   Commission pursuant to 28 U.S.C.
$ 994(u),
        andhaving  considered such  motion,
                                          and takinginto accountthe policystatement
                                                                                  setfotth at USSG  $IBLl0
andthesentencing factorssetforth in 18U.S.C.$ 3553(a),to theextentthattheyareapplicable,
IT IS ORDEREDthatthe motionis:
                                                                     of imprisonment(asreflected
       E nENrc,n. n GRANTEDandthe defendant'spreviouslyimposedsentence                        in
the lastjudgment issued)of                                        monthsis reduced to
                                          (Complete Parts I and II of Page 2 when motion is granted)




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                                                                                      WESTERNDIST AJTKANSAS
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                                                                                                         Clcrk
                                                                                          CHRISR. JOFINSON,
                                                                                           By
                                                                                                       DePutYClerk




Exceptas otherwiseprovided,all provisionsof thejudgment dated                                              shall remain in effect.
IT IS SO ORDERBD.

Order Date:                  02!?JP!!L


Effective Date:                                                        HonorableRobertT. Dawson,UnitedStatesDistrictJudge
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